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UNITED STATES DISTRICT COURT

DISTRICT OF DELAWARE
CHAMBERS OF LOCKBOX 27
JOSEPH J, FARNAN, JR. 844 KING STREET
JUDGE U.S, COURTHOUSE

WILMINGTON, DELAWARE 19801
(302) 573-6155

February 18, 2009

Timothy J. Wilson, Esquire
The Wilson Firm

24 Deerborne Trail
Newark, DE 19702

Maribeth L. Minella, Esquire
Young, Conaway, Stargatt & Taylor
P. O. Box 391

Wilmington, DE 19899-0391

RE: — Justison, et al. v. McDonald’s Corporation
Civil Action No. 08- 448 JJF

Dear Counsel:

. Pursuant to Federal Rule of Civil Procedure 16(b) and Local Rule 16.3, the Court
requests that counsel confer and submit to the Court a Proposed Pretrial Scheduling Order on or
before Monday, March 9, 2009.

Attached is a sample form of Order which should serve as a basis for your
discussions. The Court schedules jury trials to commence within sixteen (16) months from the
date of filing. If there is no demand for a jury trial or if the parties waive trial by jury, trial can be
scheduled within four (4) to nine (9) months from the date the case was filed. When discussing
the schedule of this matter, please account for all the events that can adversely affect your
preparation for the trial.

If either party believes that a conference with the Court is needed, please direct
any requests or questions regarding the scheduling and management of the above matter to Case
Manager Debbie Krett at (302) 573-6168.

Sincerely,

ys
SEPH J. FARNAN, JR.

JIFjr:dk
Attachment
ce: Clerk, U.S. District Court
